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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                  Case No.: 1:08-CR-032-SPM

YOSNELL MONTEJO-GARCIA,

             Defendant.

_________________________________/

            ORDER ADOPTING REPORT AND RECOMMENDATION

       PURSUANT TO the Report and Recommendation (doc. 165) of the United

States Magistrate Judge, to which there have been no timely objections, and

subject to the Court’s consideration of any plea agreement pursuant to Federal

Rule of Criminal Procedure 11(e)(2), the plea of guilty of the Defendant,

YOSNELL MONTEJO-GARCIA, to Count One of the indictment is hereby

ACCEPTED. All parties shall appear before this Court for sentencing as

directed.

       DONE AND ORDERED this eighteenth day of December, 2008.




                                     s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
